    Case 1:22-cv-00097-DLH-CRH             Document 75       Filed 12/11/24      Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Ronald Penman and Adelante                   )
Oil & Gas, LLC, on behalf of                 )
themselves and a Class of                    )
similarly situated royalty owners,           )       ORDER DENYING MOTION
                                             )       TO COMPEL
               Plaintiffs,                   )
                                             )
       v.                                    )
                                             )
Hess Bakken Investments II, LLC,             )
                                             )
               Defendant.                    )       Case No. 1:22-cv-00097
                                             )
Sandy River Resources, LLC and               )
Sandy River Energy, LLC, on behalf           )
of themselves and classes similarly          )
situated royalty owners,                     )
                                             )
               Plaintiff,                    )       Case No. 1:22-cv-00108
                                             )
       v.                                    )
                                             )
Hess Bakken Investments II, LLC,             )
                                             )
               Defendant.                    )


       On August 9, 2024, Plaintiffs Ronald Penman, Adelante Oil & Gas, LLC, Sandy River

Resources, LLC, and Sandy River Energy, LLC (“Plaintiffs”), filed a Motion to Compel. (Doc. No.

60). On August 23, 2024, Defendant Hess Bakken Investments II, LLC (“Defendant”) filed a

response in opposition to Plaintiffs’ motion. (Doc. No. 62). Plaintiffs filed a reply on August 28,

2024. (Doc. No. 63). On September 13, 2024, Defendant filed a sur-reply. (Doc. No. 66). Plaintiffs

filed a response to Defendant’s sur-reply on September 20, 2024. (Doc. No. 68). On October 28,

2024, Defendant filed a notice regarding the motion to compel. (Doc. No. 72). Plaintiffs filed a
       Case 1:22-cv-00097-DLH-CRH            Document 75         Filed 12/11/24      Page 2 of 8




brief in response to Defendant’s notice on October 29, 2024. (Doc. No. 73). For the reasons set for

below, Plaintiffs’ motion to compel is denied.

  I.     BACKGROUND

         The following are facts taken from the parties’ motions, pleadings, and supporting

documents. The facts are presumed true for the purposes of this order.

         On June 10, 2022, Plaintiffs Ronald Penman and Adelante Oil & Gas, LLC, brought an

action on behalf of themselves and a class of similarly situated royalty owners against Defendant

Hess Bakken Investments II, LLC. (Doc. No. 1). Defendant filed a motion to dismiss on August 4,

2022. The court denied the motion on March 23, 2023. (Doc. No. 11).

         On June 28, 2022, Plaintiffs Sandy River Resources, LLC, and Sandy River Energy, LLC,

brought action on behalf of themselves and a class of similarly situated royalty owners against

Defendant Hess Bakken Investments II, LLC. (Case No. 1:22-cv-108, Doc. No. 1). Defendant filed

a motion to dismiss on September 6, 2022. (Case No. 1:22-cv-108, Doc. No. 11). The court granted

in part and denied in part Defendant’s motion on February 7, 2023. (Case No. 1:22-cv-108, Doc.

No. 15).

         On December 6, 2023, the court granted a motion to consolidate the cases. (Doc. No. 26).

The Plaintiffs allege the following:

         (1) in Defendant’s oil royalty calculations Defendant has impermissibly included
         both non-post-production costs as well as post-production costs which are
         excessive and unreasonable under North Dakota law; (2) in making monthly royalty
         payments to the Plaintiffs and the proposed Class Members, Defendant has
         routinely applied negative gas royalties to the royalty owners’ positive oil royalties,
         which is inconsistent with North Dakota law; and (3) Defendant has routinely failed
         to comply with N.D.C.C. § 47-16-39.1 when refusing to calculate and pay the
         Plaintiffs and the similarly situated Class members interest on untimely royalty
         payments.
(Doc. No. 60 at 2).



                                                   2
        Case 1:22-cv-00097-DLH-CRH           Document 75       Filed 12/11/24      Page 3 of 8




          On March 28, 2024, Defendant filed a motion to strike statutory interest class allegations.

(Doc. No. 38). On August 13, 2024, the court granted Defendant’s motion to strike statutory

interest class allegations. (Doc. No. 61).

          On August 9, 2024, Plaintiffs filed a motion to compel. (Doc. No. 60). Plaintiffs request

the court order Defendant to produce electronically stored oil and gas royalty accounting data.

  II.     LEGAL STANDARD

          Federal Rules of Civil Procedure 37 governs motions to compel discovery. Rule 37 requires

the party making the motion include certification it has in good faith conferred, or attempted to

confer, with the party failing to disclose discovery. FED. R. CIV. P. 37(a). The party seeking

discovery may move for an order compelling answer, designation, production, or inspection if a

party fails to produce documents. FED. R. CIV. P. 37(a)(3)(B)(iv).

          Federal Rules of Civil Procedure 26(b)(1) defines the scope of discovery. Rule 26(b)(1)

states:

          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
          any party’s claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the
          importance of discovery in resolving the issues, and whether the burden or expense
          of the proposed discovery outweighs its likely benefit. Information within this
          scope of discovery need not be admissible in evidence to be discoverable.
FED. R. CIV. P. 26(b)(1). “The scope of discovery under Rule 26(b) is extremely broad.” Gowan v.

Mid Century Ins. Co., 309 F.R.D. 503, 508 (D.S.D. 2015) (citing 8 Charles A. Wright & Arthur R.

Miller, Federal Practice & Procedure §§ 2007, 3637 (1970)). “Discoverable information itself need

not be admissible at trial; rather, the defining question is whether it is within the scope of

discovery.” Linseth v. Sustayta, No. 1:21-CV-173, 2022 WL 16744347, *2 (D.N.D. Nov. 7, 2022)

(quoting Colonial Funding Network, Inc. v. Genuine Builders, Inc., 326 F.R.D. 206, 211 (D.S.D.

2018)). Information is considered discoverable when relevant to a party’s claim or defense and is

                                                   3
       Case 1:22-cv-00097-DLH-CRH           Document 75        Filed 12/11/24      Page 4 of 8




proportional to the needs of the case. FED. R. CIV. P. 26 advisory committee’s note to 2015

amendment. “After the proponent makes a threshold showing of relevance, the party opposing a

motion to compel has the burden of showing its objections are valid by providing specific

explanations or factual support as to how each discovery request is improper.” Linseth, 2022 WL

16744347, at *2; see Jo Ann Howard & Assocs., P.C. v. Cassity, 303 F.R.D. 539, 542 (E.D. Mo.

2014)). “The party must demonstrate to the court ‘that the requested documents either do not come

within the broad scope of relevance defined pursuant to Rule 26(b)(1) or else are of such marginal

relevance that the potential harm occasioned by discovery would outweigh the ordinary

presumption in favor of broad disclosure.’” Jo Ann Howard & Assocs., P.C., 303 F.R.D. at 542

(quoting Burke v. New York City Police Dep’t. 115 F.R.D. 220, 224 (S.D.N.Y. 1987)).

III.     DISCUSSION

         Plaintiffs request the court order Defendant to produce electronically stored oil and gas

royalty accounting data. Specifically, Plaintiffs allege Defendant has not produced “(1) the oil

royalty accounting data for the entire time period relevant to this lawsuit; (2) any gas royalty

accounting data which is directly relevant to Plaintiffs’ negative gas royalty claim; (3) any royalty

accounting data related to the Plaintiffs’ statutory late payment claim…; or (4) any oil or gas

royalty accounting data related to overriding royalty agreements at issue.” (Doc. No. 60 at 4-5).

Plaintiffs note that Defendants have produced the oil royalty accounting data. (Id. at 4).

         On October 28, 2024, Defendant filed a Notice Regarding Plaintiffs’ Motion to Compel.

(Doc. No. 72). Within the document, Defendant asserts Plaintiffs’ motion to compel is moot and

should be denied in full. Defendant notes “(i), the oil royalty accounting data was already being

produced; for (ii), the classwide payment date data Plaintiffs sought was no longer relevant because

Judge Hovland struck Plaintiffs’ statutory interest subclass; and for (iv), the parties had already



                                                 4
    Case 1:22-cv-00097-DLH-CRH              Document 75        Filed 12/11/24      Page 5 of 8




discussed the overriding royalty agreement data Plaintiffs sought and Hess agreed to produce it.”

(Doc. No. 72 at 1-2). Defendant also noted that with respect to (iii), the gas royalty data, while

Defendant alleges Plaintiffs’ motion was substantively and procedurally improper, it had already

produced a significant amount of the royalty data and would produce the remainder within nine

weeks of filing its opposition brief. In response, Plaintiffs request the court grant the motion to

compel and enter an order pertaining to fees and expenses under Rule 37(a)(5)(A). (Doc. No. 73

at 2). Plaintiffs argues Defendant wrongly and unilaterally claims the motion to compel is moot,

asserting Defendant completed production of royalty accounting data after the motion was filed,

and Defendant cannot moot a motion to compel by answering discovery after and because of the

motion.

       The court interprets Defendant’s notice and Plaintiffs’ response to the notice as an

acknowledgement Defendant has produced or is in the process of producing the data Plaintiffs

seek. However, Plaintiffs take issue with the timeliness of discovery production and the request

for fees and expenses.

       As an initial matter, Defendant notified the court at the time of the discovery dispute status

conference on August 1, 2024, that oil royalty data had been produced and it was in the process of

compiling the remaining oil royalty data for production to Plaintiffs by mid-August. Defendant

produced that data on August 20, 2024. (Doc. No. 62 at 2). Defendant also informed the court at

the time of the hearing that its system did not have the capability of compiling both the oil and gas

data simultaneously, rather the system could only compile one set of data and then the other. The

court similarly takes note that Defendant’s motion to strike Plaintiffs’ statutory class allegations

was granted on the basis the proposed subclass included members who lack standing and does not

satisfy Rule 23 as a matter of law. (Doc. No. 61 at 7). As such, Defendant now argues the classwide



                                                 5
     Case 1:22-cv-00097-DLH-CRH                      Document 75            Filed 12/11/24          Page 6 of 8




payment date data is no longer relevant. However, though purportedly irrelevant, Defendant

alleges it already produced data which included information on when payments were made. (See

Doc. No. 66 at 6). Defendant also contends it previously produced the overriding royalty data

during its August 20, 2024, production. (Id.).

         As it seems there is no longer a dispute as to whether Defendant is producing and/or will

produce the requested discovery,1 the court now turns to Plaintiffs’ argument on the issue of

timeliness and request for reasonable expenses.

         Plaintiffs argue the motion to compel cannot be deemed moot because Defendant

completed production of the data after the filing of the motion, emphasizing Defendant answered

discovery, “after and because of the filing of Plaintiffs’ Motion to Compel.” (Doc. No. 73 at 2)

(emphasis in original). It is apparent that Defendant was in the process of producing data to

Plaintiffs before the filing of the motion to compel, however, the court is not satisfied with

Defendant’s reasoning for not producing the payment date data. It appears Defendant’s argument

for not producing the data was because it was waiting for the court to rule on its Motion to Strike

Statutory Interest Class Allegations. Notably, the parties’ correspondence states:

         Neither [the negative gas class or late payment claim] justifies the burden of this
         production at this time. Hess has moved to strike the statutory interest class and the
         Court has previously struck identical classes twice before. This proposed class does
         not justify the burden of this discovery. Nor does the negative gas class.
(Doc. No. 63-3 at 1-2). However, Defendant did agree to produce the gas royalty data in the same

correspondence. A party does not have liberty to cherry pick the circumstances under which

discovery is warranted. While Rule 26(c) sets limits on the scope of discovery, it does not allow

for nondisclosure because a party is waiting for the court’s ruling. Rather, the data should have



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 Plaintiffs themselves state “[t]he real issue is not whether Plaintiffs are entitled to the information that Defendant is
now producing, but whether Defendant should be sanctioned for the unreasonable delay in producing responsive
materials.” (Doc. No. 68 at 3).

                                                            6
    Case 1:22-cv-00097-DLH-CRH              Document 75        Filed 12/11/24      Page 7 of 8




been produced, as “[i]nformation within this scope of discovery need not be admissible in evidence

to be discoverable.” FED. R. CIV. P. 26(b)(1). Meaning, even though Defendant did not believe the

burden of production was justified, it was still required under the rule.

       Turning to Plaintiffs’ request for reasonable expenses under Federal Rules of Civil

Procedure 37, the court is not inclined to grant Plaintiffs’ request. Rule 37(a)(5) dictates the

payment of expenses pertaining to a motion to compel. Notably, Rule 37(a)(5)(A) provides that if

the motion is granted, or discovery is provided after the motion’s filing, the court must require the

party whose conduct necessitated the motion pay reasonable expenses, including attorney’s fees,

to the movant. FED. R. CIV. P. 37(a)(5)(A) (emphasis added). However, payment is not required if:

(i) the movant filed the motion prior to attempting in good faith to obtain discovery without court

interference; (ii) nondisclosure, response, or objection by the opposing party was justified; or (iii)

other circumstances make awarding reasonable expenses and attorney’s fees unjust. FED R. CIV. P.

37(a)(5)(A)(i)-(iii). In a situation where a motion to compel is denied, the court must require the

party moving for the motion to pay the opposing party reasonable expenses. FED. R. CIV. P.

37(a)(5)(B) Payment need not be awarded if the motion is substantially justified, or an award of

expenses is unjust. FED. R. CIV. P. 37(a)(5)(B).

       While Plaintiffs argue they are entitled to reasonable expenses incurred in making their

motion, the court is not inclined to agree. The court is of the mind that under Rule 37(a)(5)(B)

there are circumstances that make the awarding of reasonable expenses and attorney’s fees unjust.

This is a situation in which the parties are evidently unable to work with one another, as noted

through the parties’ correspondence and inability to effectively resolve their discovery dispute. The

court is also cognizant of the fact that although Plaintiffs assert in their motion that Defendant has

not produced electronically stored data, Defendant had produced and was in the process of



                                                   7
       Case 1:22-cv-00097-DLH-CRH           Document 75        Filed 12/11/24      Page 8 of 8




producing data at the time of the discovery dispute status conference, which was prior to the filing

of Plaintiffs’ motion. Accordingly, the court is not inclined to grant an award of fees and costs.

 IV.     CONCLUSION

         For the reasons articulated above, Plaintiffs’ Motion to Compel (Doc. No. 60) is DENIED.

To the extent Defendant has not completed production of the requested data, Defendant shall

complete production and disclose the material to Plaintiffs as soon as practicable.

IT IS SO ORDERED.

Dated this 11th day of December, 2024.

                                      /s/ Clare R. Hochhalter
                                      Clare R. Hochhalter, Magistrate Judge
                                      United States District Court




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